Case 2:20-cv-08930-DSF-MRW    Document 117    Filed 08/19/24   Page 1 of 2 Page ID
                                   #:1105




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     WESLEY SINNATHAMBY,                 2:20-cv-8930-DSF-MRWx
         Plaintiff,
                                         Order to Show Cause re
                     v.                  Dismissal for Lack of Prosecution

     MICHAEL DUANE INSCORE, et
     al.,
          Defendants.




          On May 15, 2023, the Court issued an order to show cause re
    dismissal for lack of prosecution with respect to the remaining
    defendants in the case. Numerous extensions have been granted to
    Plaintiff since then. The last extension, dated January 30, 2024,
    ordered a response no later than March 1, 2024. No response was filed.

           Given that the case has been pending since September 29, 2020,
    and the last substantive action occurred almost two years ago, Plaintiff
    will be afforded one final opportunity to show cause why the remainder
    of the case should not be dismissed for lack of prosecution. The
    response must outline a specific timeline for seeking default judgment
    against the defaulted defendants and must show cause why any
Case 2:20-cv-08930-DSF-MRW   Document 117     Filed 08/19/24   Page 2 of 2 Page ID
                                  #:1106



    unserved defendants should not be dismissed at this time. The
    response is to be filed no later than August 30, 2024.

         IT IS SO ORDERED.



     Date: August 19, 2024                ___________________________
                                          Dale S. Fischer
                                          United States District Judge




                                      2
